                Security National Bank v. Abbott Laboratories
                            No. C 11-4017-MWB
                              Jury Exhibit Index


       Marked                JOINT Exhibits, Description
                  Midwest Neurosurgery & Spine Specialists
       2007       (07/29/2008)
                  CDC E. sak Outbreak Investigation Form
       2012       (04/30/2008)
       2013       Similac® NeoSure® Infant Formula label
                  Handwritten Formula Directions, Children’s
                  Hospital of Omaha Notes re: NeoSure 22 feeding.
       2015       (06/02/2008)
                  FAO/WHO, Microbial Risk Assessment Series #6:
                  Meeting Report, Executive Summary (2004) at xv-
       2034       xvii
       2038       FDA, Establishment Inspection Report (12/14/2006)
       2040       FDA, Establishment Inspection Report (11/14/2007)
       2050       Summary of Complaint (05/2008)
                  Batch Review Results & Microbiological Testing
       2051       Report (5/14/2008)
       2052       Abbott Batch Review Results (05/2008)
       2053       Abbott Finished Product Micro Test Results (2008)
       2153       CDC Results Summary




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       Marked            PLAINTIFF Exhibits, Description
                Similac NeoSure label (showing 2 panels and taken
       0028     from Ex 2013)
       0030     Abbott Interoffice corres 5/02/06
       0035     2006 WHO Report, Executive Summary
       0042     Batch Log Review – Process
       0043     Batch Log Review – Dryer
       0044     Batch Log Review – Filling
       0045     Batch Log Review – Lab
       0046     Batch Log Review – Lab
       0055     Environmental Monitoring Oct-Nov 2006
       0056     Environmental Monitoring December 2006
       0057     Environmental Monitoring January 2007
       0058     Environmental Monitoring February 2007
       0059     Environmental Monitoring May 2007
       0060     Environmental Monitoring June 2007
       0061     Environmental Monitoring August 2007
       0062     Environmental Monitoring September 2007
       0063     Environmental Monitoring October 2007
       0064     Environmental Monitoring November 2007
       0065     Environmental Monitoring December 2007
       0066     Environmental Monitoring January 2008
       0067     Environmental Monitoring February 2008
       0068     Environmental Monitoring March 2008
       0069     Environmental Monitoring April 2008
       0070     FDA email
       0072     IFC email
       0073     CDC MMWR 04/12/02
       0074     IFC letter to FDA
       0075     IFC letter
       0076     IFC Comments
                Infant Feeding: Safety Issues for Health Care
       0078     Professionals by IFC
       0081     IFC email and attachment
       0082     IFC email and attachment
       0084     IFC email and attachment
       0085     IFC email and attachment

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       0086      IFC email and attachment
       0088      IFC letter to FDA
       0089      IFC letter to FDA
       0090      March paper
       0093      IFC email and attachment
       0095      IFC email and attachment
       0096      2004 WHO Report
       0101      IFC email and attachment
       0102      IFC email and attachment
       0104      IFC document
       0107      IFC email
       0108      IFC email and attachment
       0109      IFC email and attachment
       0110      IFC email
       0111      2006 WHO Report BOOK
       0113      IFC email and attachment
       0116      IFC email and attachment
       0118      IFC email and attachment
       0119      IFC email and attachment
       0120      Megan Surber medical records, Siouxland Women’s
       0121      Megan Surber birth admission, St. Luke’s
       0124      Jeanine 4/24/08-4/26/08 admission, St. Luke’s
       0125      Jeanine 4/26/08-6/2/08 admission, Children’s
       0127      Jeanine medical records 6/10/08-7/14/08
       0128      Jeanine 7/16/08-7/24/08 admission, Children’s
       0129      Jeanine Medical Records 7/29/2008-12/16/2008
       0130      Jeanine Medical Records 1/1/09-12/31/09
       0131      Jeanine Medical Records 1/1/10-6/30/10
       0132      Jeanine medical records 7/1/10-12/31/10
                 Jeanine medical records
       0133      1/1/11-6/30/11
       0134      Jeanine medical records 7/1/11-12/31/11
       0135      Jeanine medical records 1/1/12-6/30/12
       0136      Jeanine medical records 7/1/12-12/31/12
       0137      Jeanine medical records 1/1/13-present
       0138      Jeanine educational records
       0140(a)   Able Kids physical therapy records
       0140(b)   Able Kids physical therapy records
       0140(c)   Able Kids physical therapy records

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       0141     Iowa DHS Subrogation lien itemization
                Day in the Life
       0142     Video
       0143     Therapy Video
                Parent copy of Children’s Hospital Discharge
       0144     Instructions
       0147     CDC 2013 Advisory to Parents
                Letter, FDA to Health Professionals revised
       0148     10/10/02
                CDC Infant Feeding Practices Study, Chapter 3.
       0157     Infant Feeding
       0174     Table of Abbott product sales




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       Marked           DEFENSE Exhibits, Description
       1000(a) St Luke’s Physician Order (04/17/2008)
       1000(b) St. Luke’s Prescription Form (04/17/2008)
               St    Luke’s    Newborn      Discharge     Summary
       1000(c) (04/17/2008)
               St    Luke’s    Discharge     Instructions   Report
       1000(d) (04/17/2008)
       1000(e) St. Luke’s Prescription Form (04/23/2008)
               St Luke’s Conditions of Admission and Consent to
       1000(f) Treatment (04/24/2008)
       1000(g) St Luke’s History-Physical Exam. (04/24/2008)
               St Luke’s Graphic/Intake & Output Record (04/24-
       1000(h) 25/2008)
               St Luke’s Department of Pathology and Clinical Lab
       1000(i) Services (04/26/2008)
       1000(j) St Luke’s Discharge Summary (04/26/2008)
               Children’s    Hospital    History    and    Physical
       1001(a) (04/28/2008)
               Children’s     Hospital     Discharge      Summary
       1001(b) (06/27/2008)
       1002    Univ. of Iowa Hospitals Clinic Note (10/22/2008)
       1003(a) AbleKids Status Report (08/08/2012)
       1003(b) AbleKids Daily Treatment Notes (Feb.-Mar. 2010)
       1003(c) AbleKids Daily Treatment Notes (Sept.-Oct 2010)
       1003(d) AbleKids Daily Treatment Notes (Apr.-June 2012)
       1003(e) AbleKids Daily Treatment Notes (Apr.-May 2010)
       1003(f) AbleKids Daily Treatment Notes (Jan.-Feb. 2012)
               St. Luke’s Medical Records for Ja. Kunkel
       1004    (04/14/2008-04/24/2008)
               St Luke’s Medical Records for T. Kunkel
       1005(a) (04/02/2008-04/04//2008)
               St Luke’s Medical Records for T. Kunkel
       1005(b) (04/25/2008-04/26/2008)
       1006(a) CDC, email from Anna Bowen (05/01/2008)
       1006(b) CDC, email from Anna Bowen (05/15/2008)
       1007    CDC Chain of Custody Form (05/01/2008)
       1008(a) CDC Outbreak Worksheet (05/06/2008)

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       1008(b)   CDC Testing Samples (05/13/2008)
       1009(a)   FDA Collection Report 442190 (05/08/2008)
       1009(b)   FDA Summary Report 442190 (05/14/2008)
       1010      FDA email from Elisa Elliot (05/09/2008)
       1011      Iowa DPH email from Mary Roxroat (05/13/2008)
                 Cook & Thurber, Food Safety & Quality Audit
       1012(a)   (04/09/2007)
                 Cook & Thurber, Food Safety & Quality Audit
       1012(b)   (04/08/2008)
                 Cook & Thurber, Food Safety, Quality and Food
                 Defense Expectations and Criteria for Food
       1012(c)   Processing Facilities (01/2007)
                 Abbott Batch Log Review Heat Treatment
       1013(a)   (01/8/2008)
                 Abbott Batch Log Review, Dryer Operation
       1013(b)   (01/10/2008)
                 Abbott Batch Log Review, Finished Product Test
       1013(c)   Results (01/13/2008)
       1014      Microbiological Raw Ingredient Data Report
       1015      Abbott Swab Monitoring (Q4/2007 – Q1/2008)
                 Abbott Microbiology Methods Manual, Sec. 11, 78,
       1016      79
                 Casa Grande Plant Procedure: Protective Gowning
                 Area Procedure Powder Production and Testing
       1017(a)   (10/31/2006)
                 Casa Grande Plant Procedure: Sanitation &
       1017(b)   Housekeeping Standards (10/19/2007)
                 Casa Grande Plant Procedure: Powder Filling
       1017(c)   Cleaning Procedure (03/16/2007)
                 Casa Grande Plant Procedure: Powder Sampling
       1017(d)   Plan (07/13/2007)
                 Casa Grande Plant Procedure: Environmental
       1017(e)   Monitoring Program (06/29/2007)
                 Casa Grande Plant Procedure: Dryer Environmental
       1017(f)   Monitoring Program (02/23/2007)
                 FAO/WHO, Microbial Risk Assessment Series #15:
                 Meeting Report, 3. Epidemiology and public health
       1018      Table 2-3 (2008) at 16
                 CODEX, Code of Hygienic Practice for Powdered
       1019      Formulae (2008)
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       1020      CDC email from A. Bowen to J. Jason (09/27/2011)
                 FDA letter from B. Silverman to J. Jason
       1021      (03/01/2012)
       1022(a)   12.8 ounce can of NeoSure® PIF
       1022(b)   6-unit packs of 2-ounce bottles of NeoSure® RTF
       1022(c)   32-ounce bottles of NeoSure® RTF.




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